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15   Attorneys for Plaintiff
16   KINSALE INSURANCE COMPANY

17                    UNITED STATES DISTRICT COURT
18                           DISTRICT OF NEVADA
19   KINSALE INSURANCE COMPANY, Case No.
20   an Arkansas corporation,
                                    KINSALE INSURANCE
21                       Plaintiff, COMPANY'S COMPLAINT FOR
22                                  DECLARATORY RELIEF AND
     v.                             REIMBURSEMENT OF DEFENSE
23                                  FEES AND COSTS
24   SVS SECURITY LLC, a Nevada
     limited liability company,
25

26                   Defendant.

27

28
                  KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                     REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1     COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
2                         OF DEFENSE FEES AND COSTS
3          Plaintiff Kinsale Insurance Company (“Kinsale”) for its Complaint
4    against the above-named Defendants, upon knowledge, information, and
5    belief, alleges as follows:
6                             NATURE OF THE ACTION
7          1.    This is an action by Kinsale pursuant to 28 U.S.C. sections
8    2201 and 2202 for a declaratory judgment regarding Kinsale’s rights and
9    obligations under Commercial General Liability Policy No. 0100144841-2,
10   effective March 24, 2023 to March 24, 2024 (the “Primary Policy”), and
11   Commercial Excess Liability Insurance Policy No. 0100144843-2, effective
12   March 24, 2023 to March 24, 2024 (the “Excess Policy”), issued to
13   defendant SVS Security LLC (“SVS”) (sometimes collectively referred to
14   as the “Policies”). A true and correct copy of the Primary Policy (redacted
15   to eliminate disclosure of sensitive financial and rating information) is
16   attached as Exhibit A and incorporated herein by this reference. A true
17   and correct copy of the Excess Policy (redacted to eliminate disclosure of
18   sensitive financial and rating information) is attached as Exhibit B and
19   incorporated herein by this reference.
20         2.    SVS was named as a defendant in an underlying action styled
21   Henry Willis Webb, Jr., et al. v. SVS Security LLC, et al., Clark County,
22   Nevada District Court Case No. A-23-880332-C (the “Webb Action”). SVS
23   tendered its defense of the Webb Action to Kinsale. Within thirty days of
24   that tender of defense, Kinsale agreed to provide SVS with a defense,
25   subject to a full and complete reservation of rights. True and correct
26   copies of the original Complaint and the presently operative First Amended
27   Complaint in the Webb Action are attached as Exhibits C and D and
28   incorporated herein by this reference.
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                        REIMBURSEMENT OF DEFENSE FEES AND COSTS
                                            2
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1          3.    In this action, Kinsale seeks a determination that no coverage
2    is available to SVS under the Policies for any insureds related to the
3    claims asserted in the Webb Action, as further identified below.
4                                   THE PARTIES
5          4.    At all relevant times herein, Kinsale was a corporation
6    organized under the laws of the State of Arkansas whose principal place of
7    business is located in Richmond, Virginia. Kinsale is an insurance
8    company eligible to issue insurance policies in Nevada on a non-admitted
9    basis as an Excess and Surplus Lines carrier.
10         5.    At all relevant times herein, defendant SVS was and is a
11   limited liability company organized and existing under the laws of the State
12   of Nevada whose principal place of business is located in Las Vegas,
13   Nevada. At all relevant times herein, the members of SVS were and are
14   Mark W. Broadhurst and Mataava Suafali.
15                          JURISDICTION AND VENUE
16         6.    The Court has jurisdiction over this action pursuant to 28
17   U.S.C. section 1332(a)(1). There is complete diversity of citizenship
18   between Kinsale and Defendant SVS. Kinsale is incorporated in Arkansas
19   and maintains its principal place of business in Virginia, and is therefore a
20   “citizen” of the states of Arkansas and Virginia. SVS’s members are
21   domiciled in the State of Nevada, and therefore SVS is a “citizen” of
22   Nevada. Moreover, none of SVS’s members maintain domiciles in the
23   states of Arkansas or Virginia, so, as outlined below, complete diversity
24   exists.
25         7.    One of the members of SVS, Mark W. Broadhurst, is an
26   individual and permanent resident of Las Vegas, Nevada. Mr. Broadhurst
27   has owned a home in Las Vegas and has lived there with his family as his
28   permanent residence since at least 2009. He was the founder and
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                        REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1    managing member of SVS since its formation in 2013, and regularly
2    commutes to work at its offices in Las Vegas. Mr. Broadhurst has been
3    licensed by the Nevada Private Investigators Licensing Board since at
4    least June, 2018. Mr. Broadhurst has been registered to vote in Clark
5    County, Nevada since at least November, 2020. Mr. Broadhurst is active
6    in the Las Vegas community and maintains ties in his community there.
7    Mr. Broadhurst was the person who signed the application for the Policies
8    and submitted the same to Kinsale through SVS’s insurance broker. Mr.
9    Broadhurst is therefore a citizen of the State of Nevada.
10         8.    The other member of SVS, Mataava Suafali, is an individual
11   and permanent resident of Las Vegas, Nevada. Mr. Suafali has owned a
12   home in Las Vegas and has lived there with his family as his permanent
13   residence since at least December, 2020. Mr. Suafali has been a member
14   of SVS since its formation in 2013, and regularly commutes to work at its
15   offices in Las Vegas. Mr. Suafali has been licensed by the Nevada Private
16   Investigators Licensing Board since at least April, 2016. Mr. Suafali has
17   been registered to vote in Clark County, Nevada since at least September,
18   2022. Mr. Suafali is active in the Las Vegas community and maintains ties
19   in his community there. Mr. Suafali is therefore a citizen of the State of
20   Nevada.
21         9.    The amount in controversy exceeds the sum of $75,000,
22   exclusive of interest and costs, in that the underlying Webb Action involves
23   claims in which the plaintiffs seek special, general and punitive damages
24   for alleged wrongful death and related negligence claims arising out of a
25   shooting during a pool party at an apartment complex. Additionally,
26   Kinsale has already retained defense counsel to represent SVS in the
27   Webb Action and has actually paid defense fees and costs as well as a
28   substantial retainer fee to experts in defense of that action in an amount
                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1    that exceeds SVS’s deductible. Based on the allegations of the Complaint
2    in the Webb Action, the nature of the claims stated therein involving
3    wrongful death due to a shooting at an outdoor event and the information
4    known to Kinsale at the time of tender, Kinsale reasonably anticipates that
5    defense fees, costs, expert witness fees and other expenses through trial
6    in the Webb Action will exceed $75,000.
7          10.   Venue is proper pursuant to 28 U.S.C. section 1391, in that a
8    substantial part of events giving rise to this action occurred in this district
9    and Defendants in this action reside in this district.
10                            FACTUAL ALLEGATIONS
11         A.    THE PRIMARY POLICY
12         11.   Kinsale issued SVS the Primary Policy, with limits of insurance
13   of $1,000,000 per “occurrence” and $2,000,000 in the aggregate.
14         12.   The Primary Policy includes Commercial General Liability
15   Coverage Form CG0001-0413, which states in pertinent part as follows:
16        SECTION I – COVERAGES
          COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
17        LIABILITY
18         1. Insuring Agreement
              a. We will pay those sums that the insured becomes legally
19
                 obligated to pay as damages because of "bodily injury" or
20               "property damage" to which this insurance applies. We will
                 have the right and duty to defend the insured against any
21
                 "suit" seeking those damages. However, we will have no
22               duty to defend the insured against any "suit" seeking
                 damages for "bodily injury" or "property damage" to which
23
                 this insurance does not apply. We may, at our discretion,
24               investigate any "occurrence" and settle any claim or "suit"
                 that may result. But:
25

26               (1) The amount we will pay for damages is limited as
                     described in Section III – Limits Of Insurance; and
27
                 (2) Our right and duty to defend ends when we have used
28                   up the applicable limit of insurance in the payment of
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                        REIMBURSEMENT OF DEFENSE FEES AND COSTS
                                            5
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1             judgments or settlements under Coverages A or B or
              medical expenses under Coverage C.
2

3          No other obligation or liability to pay sums or perform acts
           or services is covered unless explicitly provided for under
4          Supplementary Payments – Coverages A and B.
5
        b. This insurance applies to "bodily injury" and "property
6          damage" only if:
7
           (1) The "bodily injury" or "property damage" is caused by
8              an "occurrence" that takes place in the "coverage
9              territory";
           (2) The "bodily injury" or "property damage" occurs during
10             the policy period; and
11         (3) Prior to the policy period, no insured listed under
               Paragraph 1. of Section II – Who Is An Insured and no
12             "employee" authorized by you to give or receive notice
13             of an "occurrence" or claim, knew that the "bodily injury"
               or "property damage" had occurred, in whole or in part.
14             If such a listed insured or authorized "employee" knew,
15             prior to the policy period, that the "bodily injury" or
               "property damage" occurred, then any continuation,
16             change or resumption of such "bodily injury" or
17             "property damage" during or after the policy period will
               be deemed to have been known prior to the policy
18             period.
19
        c. "Bodily injury" or "property damage" which occurs during
20         the policy period and was not, prior to the policy period,
21         known to have occurred by any insured listed under
           Paragraph 1. of Section II – Who Is An Insured or any
22         "employee" authorized by you to give or receive notice of
23         an "occurrence" or claim, includes any continuation,
           change or resumption of that "bodily injury" or "property
24         damage" after the end of the policy period.
25
        d. "Bodily injury" or "property damage" will be deemed to
26         have been known to have occurred at the earliest time
27         when any insured listed under Paragraph 1. of Section II –
28
              KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                 REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1                Who Is An Insured or any "employee" authorized by you to
                 give or receive notice of an "occurrence" or claim:
2

3                (1) Reports all, or any part, of the "bodily injury" or
                     "property damage" to us or any other insurer;
4                (2) Receives a written or verbal demand or claim for
5                    damages because of the "bodily injury" or "property
                     damage"; or
6                (3) Becomes aware by any other means that "bodily injury"
7                    or "property damage" has occurred or has begun to
                     occur.
8
9           e. Damages because of "bodily injury" include damages
               claimed by any person or organization for care, loss of
10             services or death resulting at any time from the "bodily
11             injury".
                                     ***
12        SECTION V – DEFINITIONS
13
             3. "Bodily injury" means bodily injury, sickness or disease
14              sustained by a person, including death resulting from any
15              of these at any time.
                                      ***
16           13. "Occurrence" means an accident, including continuous or
17                repeated exposure to substantially the same general
                  harmful conditions.
18

19        13.    The Primary Policy’s Insuring Agreement is modified by form
20   ADF2000-0622, titled Policy Amendment – Extrinsic Evidence, as follows:
21              POLICY AMENDMENT – EXTRINSIC EVIDENCE
22
          This endorsement modifies insurance under the following:
23        ALL COVERAGE FORMS
24
          Notwithstanding any provision of this Policy to the contrary, all
25        Insuring Agreements in all Coverage Forms, Coverage
26
          Sections, Coverage Parts, or endorsements included in this
          Policy are amended by adding the following:
27

28
                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1         Our right and duty to defend or indemnify the insured against
          any claim or suit will be determined by review of the facts and
2         allegations pleaded and the terms of this Policy, and we may
3         look to and consider extrinsic evidence outside of the
          allegations, facts pleaded, or any combination thereof by any
4         claimant to determine whether we owe a duty to defend or
5         indemnify against any such claim or suit.

6      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
7                         UNCHANGED.

8         14.   The Primary Policy contains endorsement form CAS3002-
9    1016, titled Exclusion – Assault and Battery, which modifies the insurance
10   provided under the Primary Policy’s Commercial General Liability
11   Coverage as follows:
12                   EXCLUSION - ASSAULT AND BATTERY
13
          This endorsement modifies insurance provided under the following:
14

15        COMMERCIAL GENERAL LIABILITY COVERAGE

16        The following exclusion is added to this policy:
17
          This insurance does not apply to any claim or “suit” for “bodily
18        injury”, “property damage” or “personal and advertising injury”
19        arising out of, related to, or, in any way involving any actual or
          alleged assault, battery, harmful or offensive contact, or threat,
20        whether provoked or unprovoked.
21
          This exclusion includes but is not limited to:
22

23           1. The prevention or suppression, or the failure to suppress
                or prevent any assault, battery, harmful or
24              offensive contact, or threat;
25           2. The failure to provide an environment safe from any
                assault, battery, harmful or offensive contact, or threat, or
26              the failure to warn of the dangers of the environment that
27              could contribute to any assault, battery, harmful or
                offensive contact, or threat;
28
                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                       REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1       3. The selling, servicing or furnishing of alcoholic beverages
           resulting in any assault, battery, harmful or
2          offensive contact, or threat;
3       4. Injury or damage committed while using reasonable force
           to protect persons or property or acting in self-defense;
4       5. The reporting or failing to report to the proper authorities;
5       6. Conducting or failing to conduct an investigation of any
           assault, battery, harmful or offensive contact, or threat;
6       7. Providing or failing to provide first aid or medical
7          treatment, or otherwise handling or responding after there
           has been an assault, battery, harmful or offensive contact,
8          or threat;
9       8. Any assault, battery, harmful or offensive contact, or
           threat whether caused by, or at the instigation,
10         instruction, direction or due to the negligence of the
11         insured, the insured’s employees, agents, patrons,
           customers or any other person arising from any causes
12         whatsoever; or
13      9. The negligent hiring, employment, training, supervision, or
           retention of any employee or agent of any insured
14         with respect to items 1. through 8. above.
15
        This exclusion applies regardless of fault or intent and
16      regardless of the particular cause of action.
17
        This exclusion applies to any claim or “suit” regardless of
18      whether assault, battery, harmful or offensive contact, or
19      threat is the initial precipitating cause or is in any way a
        cause, and regardless of whether any other actual or alleged
20      cause contributed concurrently, proximately, or in any
21      sequence, including whether any actual or alleged “bodily
        injury”, “property damage” or “personal and advertising
22      injury” arises out of a chain of events that includes any
23      assault, battery, harmful or offensive conduct.
24      For purposes of this endorsement, COVERAGE A BODILY
25      INJURY AND PROPERTY DAMAGE LIABILITY, 2.
        Exclusions, item a. Expected or Intended Injury is deleted
26      and replaced with the following:
27

28
              KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                 REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1                 “Bodily injury” or “property damage” expected or intended
                  from the standpoint of the insured.
2

3       ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
                           UNCHANGED.
4

5          15.    The Primary Policy includes additional exclusions pursuant to
6    endorsement form CAS3043-0621, which, in part, includes an exclusion
7    related to Kinsale’s defense obligations as follows:
8                       ADDITIONAL POLICY EXCLUSIONS
9
           This endorsement modifies insurance provided under the
10         following:
11
           COMMERCIAL GENERAL LIABILITY COVERAGE
12         PRODUCTS/COMPLETED OPERATIONS LIABILITY
13
           COVERAGE
           LIQUOR LIABILITY COVERAGE
14

15
           The following exclusions are added to this Policy:

16         DUTY TO DEFEND EXCLUSION
17
           Where there is no coverage under this Policy, there is no duty
           to defend.
18

19         16.    The Primary Policy Contains additional terms, conditions,
20   exclusions and endorsements which may preclude coverage for the Webb
21   Action. Kinsale reserves the right to amend this Complaint to add such
22   allegations, according to proof.
23         B.     THE EXCESS POLICY
24         17.    Kinsale issued SVS the Excess Policy, with limits of insurance
25   of $2,000,000 per “occurrence” and $2,000,000 in the aggregate, excess
26   of the Primary Policy limit, which must be exhausted by the payment of a
27   judgment or settlement before the Excess Policy is even potentially
28   triggered.
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                        REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1         18.   The Excess Policy contains Commercial Excess Liability Policy
2    Form CAX0001-0817, which states in pertinent part as follows:
3
          SECTION I- COVERAGE
4         A. INSURING AGREEMENT
5
             We will pay on behalf of the Named Insured those sums in
6            excess of the “underlying insurance” that you become legally
7            obligated to pay as damages because of injury or property
             damage to which this insurance applies, provided that the
8            damages would be covered by the "underlying insurance(s)",
9            but for the exhaustion of the applicable Limits of Insurance.

10           This policy shall follow the terms, definitions, conditions and
11           exclusions of the “primary insurance” and of any
             other “underlying insurance” only to the extent coverage is
12           further limited or restricted by the terms and conditions of
13           such other “underlying insurance”; subject always to the
             policy period, policy limits, premiums and all other
14           terms, definitions, conditions and exclusions of this policy. If
15           any provisions of the “underlying insurance” conflict with
             any provisions of this policy, the provisions of this policy will
16           apply.
17
             This policy will not, in any event, provide broader coverage
18           than that provided by the “underlying insurance”. The
19           amount we will pay for damages shall not exceed the Limits
             of Insurance stated in Item 1 of the Declarations.
20

21        B. DEFENSE, INVESTIGATION, SETTLEMENT
22           1. When the Limit of Insurance of “underlying insurance”
23              have not been exhausted, the Company will have
                the right but not the duty to participate in the investigation,
24              defense and settlement of claims or suits against
25              you seeking damages because of injury or damage to
                which this insurance might apply. If a claim or suit is
26

27

28
                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1                settled within the limits of insurance of the “underlying
                 insurance(s)”, no costs will be payable by the Company.
2

3             2. When the Limit of Insurance of “underlying insurance” are
                 exhausted by payments of judgments, settlements, and
4                any costs or expenses subject to such limit, we will have
5                a duty to defend claims or suits to which this insurance
                 applies. We may, at our discretion, investigate and settle
6                any claims or suits however we will have no duty to
7                defend an insured against any claim or suit seeking
                 damages to which this insurance does not apply. No other
8                duty, obligation or liability to pay sums or perform acts or
9                services is covered unless explicitly provided for
                 elsewhere in this policy.
10

11            3. Subject to the above provisions, costs incurred by you
                 without the written consent of the Company shall be paid
12               by you.
13

14            4. When we assume the defense of any claim or suit against
                 you that seeks damages covered by this policy, we will
15               pay all costs to the extent that such payments are not
16               covered elsewhere.
17
              5. If the “primary insurance” includes defense costs and
18               expenses within the limits of insurance of
19               those policy(ies), then any such payments we make are
                 included within and will reduce the Limits of Insurance of
20               this policy as shown in Item 1 of the Declarations.
21

22            6. We will have no duty to investigate, defend or settle
                 claims or suits brought against you once the Limits
23               of Insurance of this policy as stated in Item 1 of the
24               Declarations are exhausted, or if claims or suits
                 brought against you are excluded from coverage under
25               this policy.
26   ///
27   ///
28   ///
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                        REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1         SECTION II- DEFINITIONS

2            1. “Primary insurance” means the “underlying insurance”
3               policy(ies) listed as “primary insurance” in the Schedule of
                Underlying Insurance forming a part of this policy.
4
             2. “Underlying insurance(s)” - means:
5

6               All policies or self insurance, including the “primary
                insurance”, listed in the Schedule of Underlying
7
                Insurance and any replacements or renewals of them,
8               provided that such replacement or renewal policy(ies)
                provide coverage equivalent to and afford limits of
9
                insurance equal to or greater than the policy(ies) being
10              renewed or replaced. Policies purchased or issued for
                newly acquired or newly formed organizations shall not be
11
                more restrictive than any of the policies included in the
12              Schedule of Underlying Insurance.
13
                If any “underlying insurance” is subject to a sublimit, this
14              insurance shall not drop down as excess of such sublimit,
                however, the limit of insurance of the “underlying
15
                insurance” shall be recognized as depleted to the extent
16              of the underlying insurer’s payment of loss subject to such
                sublimit.
17

18        SECTION III- EXCLUSIONS
19
          All exclusions in the “underlying insurance”, will also apply to
20        the Limits of Insurance and coverages available under
          this policy. If there are conflicts in the exclusions of the
21
          “underlying insurance” with any of the exclusions of this policy,
22        the exclusions in this policy will apply.
                                            ***
23
              6. Duty To Defend
24               Where there is no coverage under this policy, there is no
                 duty to defend.
25

26        19.   The Excess Policy contains endorsement form CAX3024-1016,
27   titled Exclusion – Assault and Battery, which modifies the insurance
28   provided under the Commercial Excess Liability Coverage as follows:
                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1               EXCLUSION - ASSAULT AND BATTERY

2    This endorsement modifies insurance provided under the following:
3
     COMMERCIAL EXCESS LIABILITY COVERAGE
4

5    The following exclusion is added to this policy:

6    This insurance does not apply to any claim or suit for injury or
7    damage arising out of, related to or in any way involving any
     actual or alleged assault, battery, harmful or offensive contact,
8    or threat, whether provoked or unprovoked.
9
     This exclusion includes but is not limited to:
10

11      1. The prevention or suppression, or the failure to suppress
            or prevent any assault, battery, harmful or
12          offensive contact, or threat;
13      2. The failure to provide an environment safe from any
            assault, battery, harmful or offensive contact, or threat, or
14          the failure to warn of the dangers of the environment that
15          could contribute to any assault, battery, harmful or
            offensive contact, or threat;
16      3. The selling, servicing or furnishing of alcoholic beverages
17          resulting in any assault, battery, harmful or
            offensive contact, or threat;
18      4. Injury or damage committed while using reasonable force
19          to protect persons or property or acting in self-defense;
        5. The reporting or failing to report to the proper authorities;
20      6. Conducting or failing to conduct an investigation of any
21          assault, battery, harmful or offensive contact, or threat;
        7. Providing or failing to provide first aid or medical
22          treatment, or otherwise handling or responding after there
23          has been an assault, battery, harmful or offensive contact,
            or threat;
24      8. Any assault, battery, harmful or offensive contact, or
25          threat, whether caused by, or at the instigation,
            instruction, direction or due to the negligence of the
26          insured, the insured’s employees, agents, patrons,
27          customers or any other person arising from any causes
            whatsoever; or
28
               KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                  REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1               9. The negligent hiring, employment, training, supervision, or
                   retention of any employee or agent of any insured
2                  with respect to items 1. through 8. above.
3
                This exclusion applies regardless of fault or intent and
4               regardless of the particular cause of action.
5
                This exclusion applies to any claim or suit regardless of
6               whether assault, battery, harmful or offensive contact, or
7               threat is the initial precipitating cause or is in any way a
                cause, and regardless of whether any other actual or alleged
8               cause contributed concurrently, proximately, or in any
9               sequence, including whether any actual or alleged injury or
                damage arises out of a chain of events that includes any
10              assault, battery, harmful or offensive conduct.
11

12   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
                        UNCHANGED.
13

14         C.      The Underlying Webb Action
15         20.     On or about November 8, 2023, Henry Willis Webb, Jr. and
16   Meisha Larita Webb (individually and as Special Administrator of the
17   Estate of Breeana Larita Webb (deceased)) filed the Webb Action seeking
18   to recover damages from SVS following Breeana Webb’s death.
19         21.     The Complaint in the Webb Action alleges, among other
20   things, that on August 6, 2023, decedent Breeana Webb attended a “large,
21   loud, rambunctious” party involving “heavy drug and alcohol consumption”
22   at an apartment complex located at 7017 S. Buffalo Drive, Las Vegas,
23   Nevada (the “Apartment Complex”).
24         22.     The Complaint in the Webb Action further alleges that “an
25   altercation erupted between invitees at the Pool Party, resulting in a
26   shootout” and “while Breeana was fleeing the scene, she was caught in
27   the crossfire and shot multiple times, including in the face.” Breeana
28   Webb passed away due to her injuries.
                      KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1          23.   The Complaint in the Webb Action makes the following
2    allegations as to SVS, among other things:
3              a. SVS was “jointly responsible for monitoring and providing
4    security for the Apartment Complex premises, including, without limitation,
5    the pool area.”
6              b. SVS was aware that the party was scheduled for August 6,
7    2023, and that the pool area was a “more likely setting . . . for young,
8    boisterous invitees to gather for parties involving drinking, drug use,
9    disorderly conduct, physical altercations, and verbal altercations.”
10             c. SVS “patrolled the pool area before, during and after the Pool
11   Party on August 6, 2023 and were aware of the Pool Party.”
12             d. SVS personnel “failed to provide adequate security, failed to
13   take action to control the crowd, and failed to take action to stop the Pool
14   Party.”
15             e. SVS “failed to conceive, promulgate, implement or enforce
16   appropriate security policies and procedures to ensure the safety of
17   invitees,” which resulted in the attack on and death of Breeana Webb.
18         24.   The Complaint in the Webb Action asserts causes of action for
19   (1) Negligence; (2) Wrongful Death; and (3) Negligent Hiring, Retention
20   and Supervision against SVS.
21         25.   On November 28, 2023, Kinsale received notice of SVS’ tender
22   of defense for the Webb Action. Kinsale agreed to undertake the defense
23   of SVS pursuant to the terms and conditions of the Policies and subject to
24   a full reservation of rights thereunder, which includes the right to seek
25   reimbursement of any amount paid by Kinsale to defend SVS in the event
26   that Kinsale proves that there never was a duty to defend SVS with regard
27   to the Webb Action, to settle the Webb Action and seek reimbursement of
28   those amounts of the settlement not covered under the Policies, to seek
                       KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
                          REIMBURSEMENT OF DEFENSE FEES AND COSTS
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1    declaratory relief to determine Kinsale’s rights and obligations under the
2    Policies, and to withdraw from the defense once it is determined that the
3    Policies do not provide coverage for the Webb Action for SVS.
4                            FIRST CLAIM FOR RELIEF
5       Declaratory Relief – Duty to Defend (Application of Assault and
6                                 Battery Exclusion)
7          26.   Kinsale repeats and incorporates by reference the allegations
8    in Paragraphs 1 through 25 of this Complaint.
9          27.   A true and present controversy exists between Kinsale, on the
10   one hand, and Defendant on the other, in that Kinsale contends that it has
11   no and never had a duty to defend SVS against the Webb Action due to
12   the application of the terms, conditions, exclusions, and endorsements of
13   the Policies. In particular, there is no and never was a potential for
14   coverage for the Webb Action under the Policies because the claims in the
15   Webb Action are excluded from coverage pursuant to the Assault and
16   Battery Exclusion. Kinsale is informed and believes that Defendant
17   contends otherwise.
18         28.   Under Nevada law, assault includes “[u]nlawfully attempting to
19   use physical force against another person” and “[i]ntentionally placing
20   another person in reasonable apprehension of immediate bodily harm.”
21   Nev. Rev. Stat. § 200.471. Battery includes “any willful and unlawful use
22   of force or violence upon the person of another.” Id. § 200.481.
23         29.   The facts, circumstances, and claims in the Webb Action,
24   which arise from a shooting and damages resulting from the shooting,
25   arise out of, are related to, and involve actual or alleged assault, battery,
26   harmful or offensive contact, or threat, whether provoked or unprovoked,
27   and coverage for the Webb Action is therefore precluded under Assault
28   and Battery Exclusion in the Policies.
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1           30.   A judicial determination is necessary to determine the
2    respective rights of the parties hereto pursuant to the terms, conditions,
3    exclusions, and endorsements of the Policies.
4           31.   Upon such determination, Kinsale is entitled to withdraw from
5    the defense of the Webb Action and a declaration of no coverage for any
6    insured related to the claims asserted in the Webb Action under the
7    Policies.
8                           SECOND CLAIM FOR RELIEF
9          Declaratory Relief – Duty to Defend (Other Terms, Conditions,
10                         Exclusions and Endorsements)
11          32.   Kinsale repeats and incorporates by reference the allegations
12   in Paragraphs 1 through 31 of this Complaint.
13          33.   A true and present controversy exists between Kinsale, on the
14   one hand, and Defendants on the other, in that Kinsale contends that it
15   has no and never had a duty to defend SVS against the Webb Action due
16   to the application of other terms, conditions, exclusions, and
17   endorsements of the Policies as may be proven at trial. Kinsale is
18   informed and believes that Defendant contends otherwise.
19          34.   A judicial determination is necessary to determine the
20   respective rights of the parties hereto pursuant to the terms, conditions,
21   exclusions, and endorsements of the Policies.
22          35.   Upon such determination, Kinsale is entitled to withdraw from
23   the defense of the Webb Action and a declaration of no coverage for any
24   insured related to the claims asserted in the Webb Action under the
25   Policies.
26   ///
27   ///
28   ///
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1                            THIRD CLAIM FOR RELIEF
2                      Declaratory Relief – Duty to Indemnify
3          36.   Kinsale incorporates Paragraphs 1 through 35, above, as
4    though fully set forth herein.
5          37.   A true and present controversy exists between Kinsale, on the
6    one hand, and Defendant on the other, in that Kinsale contends that it has
7    no and never had a duty to defend SVS against the Webb Action due to
8    the application of the terms, conditions, exclusions, and endorsements of
9    the Policies, as set forth above, and upon such additional terms,
10   conditions, exclusions, and endorsements as may be proven at trial. Upon
11   a determination by the Court that Kinsale has no and never had a duty to
12   defend, the Court may also determine that Kinsale has no duty to
13   indemnify any insured with respect to the Webb Action, without reference
14   or determination of any facts relating to the underlying Webb Action.
15   Kinsale is informed and believes that Defendants contend otherwise.
16         38.   A judicial determination is necessary to determine the
17   respective rights of the parties hereto pursuant to the terms, conditions,
18   exclusions, and endorsements of the Policies.
19         39.   Kinsale therefore seeks a judicial determination that Kinsale
20   does not have an obligation to indemnify any insured in connection with
21   the Webb Action under the Kinsale Policy.
22                          FOURTH CLAIM FOR RELIEF
23                      Declaratory Relief – Reimbursement
24         40.   Kinsale repeats and incorporates by reference the allegations
25   in Paragraphs 1 through 39 of this Complaint, as though fully set forth
26   herein.
27         41.   A true and present controversy exists between Kinsale, on the
28   one hand, and Defendants on the other, in that Kinsale contends that upon
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1    the Court’s determination of the issue of whether Kinsale ever had a duty
2    to defend the Webb Action, Kinsale also has a right to reimbursement of
3    the attorney’s fees and costs it expended in defense of the Webb Action
4    for all payments of such defense fees and costs made by Kinsale. As of
5    the date of this Complaint, Kinsale has already incurred substantial
6    attorney’s fees and costs plus expert costs defending the Webb Action.
7    Kinsale is informed and believes that Defendants contend otherwise.
8          42.   A judicial determination is necessary to determine the
9    respective rights of the parties hereto pursuant to the terms, conditions,
10   exclusions, and endorsements of the Policies.
11         43.   Upon such determination, Kinsale contends that it is entitled to
12   recover from SVS those attorney’s fees and costs it expended in defense
13   of the Webb Action.
14                             PRAYER FOR RELIEF
15         WHEREFORE, Plaintiff Kinsale requests that the Court enter
16   judgment in its favor:
17         1.    On the First Claim for Relief, for a declaration that Kinsale had
18   and has no obligation to pay for any defense fees and costs on behalf of
19   any insured under the Policies in connection with the Webb Action,
20   because of the absence of any potential coverage under the terms,
21   conditions, exclusions, and endorsements of the Policies for the claims
22   asserted in the Webb Action.
23         2.    On the Second Claim for Relief, for a declaration that Kinsale
24   had and has no obligation to pay indemnity on behalf of any insured under
25   the Policies in connection with the Webb Action, because of the absence
26   of any potential coverage under the terms of the Policies for the claims
27   asserted in the Webb Action.
28   ///
                     KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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1         3.    On the Third Claim for Relief, for recovery of damages for
2    reimbursement and recoupment of all amounts paid by Kinsale in
3    connection with the Webb Action in an amount proven at trial, and for
4    prejudgment interest thereon at the legal rate.
5         4.    For costs of suit.
6         5.    For such further relief as the Court may deem proper.
7    Dated: May 28, 2024                   NICOLAIDES FINK THORPE
8
                                           MICHAELIDES SULLIVAN LLP

9

10                                      By:      /s/ Timothy P. Kitt
                                                 Matthew J. Hafey
11                                               Timothy P. Kitt
12                                               Andrew D. Telles Wyatt
                                           Attorneys for Plaintiff KINSALE
13                                         INSURANCE COMPANY
14

15

16   Dated: May 28, 2024                   LEE, LANDRUM & INGLE
17

18

19                                      By:     /s/ Kevin E. Helm
                                                 Kevin E. Helm
20                                         Attorney for Plaintiff KINSALE
21                                         INSURANCE COMPANY

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                    KINSALE’S COMPLAINT FOR DECLARATORY RELIEF AND
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